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 5                          UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WASHINGTON
 6

 7   UNITED STATES OF AMERICA,             )
                                           )
 8                       Plaintiff,        )       CR-08-026-FVS-2
                                           )
 9           vs.                           )       ORDER
                                           )
10   FRAN OGREN,                           )
                                           )
11                       Defendant.        )
                                           )
12
              The Court having reviewed Defendant Fran Ogren’s Motion to
13
     Modify Release Conditions; Now Therefore,
14
              IT IS HEREBY ORDERED:     Defendant’s Motions to Modify
15
      Release (Ct. Rec. 368)is GRANTED and (Ct Rec. 370) is MOOT.
16
              Ms. Ogren shall be permitted to travel to Southern
17
     California, February 22, 2010 through March 15, 2010 to stay with
18
     her parents.
19
                                  16th
                      Dated this _____ day of February, 2010
20

21                                s/ Fred Van Sickle
                          _________________________________
22                                 FRED VAN SICKLE
                         SENIOR UNITED STATES DISTRICT JUDGE
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     ORDER                                     1
